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 1                                                                            U.S. District Judge Lauren King
                                                                          US Magistrate Judge S. Kate Vaughan
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 6                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   JUSTIN ALLEN DAVEY,                               NO. 3:21-cv-05068-JCC-SKV

 9                                      Plaintiff,
10          vs.                                        PIERCE COUNTY DEFENDANTS'
                                                       ANSWER TO PLAINTIFF'S SECOND
11                                                     AMENDED COMPLAINT
     PIERCE COUNTY COUNCIL, ED
     TROYER, PATTI JACKSON, BRIAN
12   SUTHERLIN, MATTHEW DOBSON,
     ANTHONY MASTANDREA, DARRYL
13   HERBISON, AND TORVALD PEARSON,
14
                                     Defendants.
15

16
                                             I.       ANSWER
17
            COME NOW the Defendants Pierce County, by and through their attorneys of record,
18
     Mary E. Robnett, Pierce County Prosecuting Attorney, and Frank A. Cornelius, Deputy
19
     Prosecuting Attorney, and make the following Answer to Plaintiff’s Second Amended Complaint
20
     for Personal Injuries. These answering Defendants deny each and every allegation of Plaintiff's
21
     Complaint not specifically admitted to herein.
22
            1.1     In answer to the allegations in paragraph 1.1 of Plaintiff's Second Amended
23
     Complaint, these answering Defendants admit jurisdiction.
24

     PIERCE COUNTY DEFENDANTS' ANSWER TO PLAINTIFF'S SECOND AMENDED   Pierce County Prosecuting Attorney/Civil Division
     COMPLAINT - 1                                                    955 Tacoma Avenue South, Suite 301
     Answers to P's 2nd Amend Cmplt                                   Tacoma, Washington 98402-2160
     USDC WAWD No. 3:21-cv-05068-JCC-SKV                              Main: (253) 798-6732 / Fax: (253) 798-6713
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 1          1.2     In answer to the allegations in paragraph 2.2 of Plaintiff's Second Amended

 2   Complaint, these answering Defendants admit that Plaintiff was incarcerated at the Pierce

 3   County jail. As to any remaining allegations, Defendants are without sufficient information to

 4   admit or deny, and therefore, deny the same.

 5          1.3     In answer to the allegations in paragraph 3.3 of Plaintiff's Second Amended

 6   Complaint, these answering Defendants admit that Pierce County is a political subdivision of the

 7   State of Washington with address 930 Tacoma Avenue S., Tacoma, WA 98402 As to all

 8   remaining allegations, Defendant denies the same.

 9                                                COUNT 1

10          1.1     In answer to the allegations in paragraph 1.1, 1-8 of Plaintiff's Second Amended

11   Complaint, these answering Defendants deny the same.

12                                                  FACTS

13          1.2     In answer to the allegations in paragraph 1.2 of Plaintiff's Second Amended

14   Complaint, these answering Defendants are without sufficient information to admit or deny the

15   allegations, and therefore, deny the same.

16          1.3     In answer to the allegations in paragraph 1.3 of Plaintiff's Second Amended

17   Complaint, these answering Defendants admit the same.

18          1.4     In answer to the allegations in paragraph 1.4 of Plaintiff's Second Amended

19   Complaint, these answering Defendants are without sufficient information to admit or deny the

20   allegations, and therefore, deny the same.

21          1.5     In answer to the allegations in paragraph 1.5 of Plaintiff's Second Amended

22   Complaint, these answering Defendants state that the allegations are argumentative. Defendants

23   are without sufficient information to admit or deny the allegations, and therefore, deny the same.

24          1.6     In answer to the allegations in paragraph 1.6 of Plaintiff's Second Amended

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     COMPLAINT - 2                                                    955 Tacoma Avenue South, Suite 301
     Answers to P's 2nd Amend Cmplt                                   Tacoma, Washington 98402-2160
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 1   Complaint, these answering Defendants are without sufficient information to admit or deny the

 2   allegations, and therefore, deny the same.

 3          1.7     In answer to the allegations in paragraph 1.7 of Plaintiff's Second Amended

 4   Complaint, these answering Defendants are without sufficient information to admit or deny the

 5   allegations, and therefore, deny the same.

 6          1.8     In answer to the allegations in paragraph 1.8 of Plaintiff's Second Amended

 7   Complaint, these answering Defendants are without sufficient information to admit or deny the

 8   allegations, and therefore, deny the same.

 9          1.9     In answer to the allegations in paragraph 1.9 of Plaintiff's Second Amended

10   Complaint, these answering Defendants are without sufficient information to admit or deny the

11   allegations, and therefore, deny the same.

12          1.10    In answer to the allegations in paragraph 1.10 of Plaintiff's Second Amended

13   Complaint, these answering Defendants state that the allegations are argumentative and

14   speculative. Defendants are without sufficient information to admit or deny the allegations, and

15   therefore, deny the same.

16          1.11    In answer to the allegations in paragraph 1.11 of Plaintiff's Second Amended

17   Complaint, these answering Defendants state that the allegations are argumentative and

18   speculative. Defendants are without sufficient information to admit or deny the allegations, and

19   therefore, deny the same.

20          1.12    In answer to the allegations in paragraph 1.12 of Plaintiff's Second Amended

21   Complaint, these answering Defendants state that the allegations are argumentative. Defendants

22   are without sufficient information to admit or deny the allegations, and therefore, deny the same.

23          1.13    In answer to the allegations in paragraph 1.13 of Plaintiff's Second Amended

24   Complaint, these answering Defendants are without sufficient information to admit or deny the

     PIERCE COUNTY DEFENDANTS' ANSWER TO PLAINTIFF'S SECOND AMENDED   Pierce County Prosecuting Attorney/Civil Division
     COMPLAINT - 3                                                    955 Tacoma Avenue South, Suite 301
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 1   allegations, and therefore, deny the same.

 2          1.14      In answer to the allegations in paragraph 1.14 of Plaintiff's Second Amended

 3   Complaint, these answering Defendants are without sufficient information to admit or deny the

 4   allegations, and therefore, deny the same.

 5          1.16      In answer to the allegations in paragraph 1.16 (typographical error in pleading—

 6   there is no paragraph 1.15) of Plaintiff's Second Amended Complaint, and to the extent that the

 7   allegation(s) call for expert medical testimony, these answering Defendants deny the same.

 8   Defendants also state that the allegation(s) are argumentative. As to the remaining allegations,

 9   Defendants are without sufficient information to admit or deny the allegations, and therefore,

10   deny the same.

11          1.17      In answer to the allegations in paragraph 1.17 of Plaintiff's Second Amended

12   Complaint, Defendants state that the allegation(s) are argumentative. As to the remaining

13   allegations, Defendants are without sufficient information to admit or deny the allegations, and

14   therefore, deny the same.

15          1.18      In answer to the allegations in paragraph 1.18 of Plaintiff's Second Amended

16   Complaint, Defendants state that the allegation(s) are argumentative. As to the remaining

17   allegations, Defendants are without sufficient information to admit or deny the allegations, and

18   therefore, deny the same.

19          1.17      In answer to the allegations in paragraph 1.17 (typographical error in pleading—

20   Plaintiff added another paragraph 1.17) of Plaintiff's Second Amended Complaint, these

21   answering Defendants state that the allegation(s) are argumentative. As to the remaining

22   allegations, Defendants are without sufficient information to admit or deny the allegations, and

23   therefore, deny the same.

24          1.18      In answer to the allegations in paragraph 1.18 (typographical error in pleading—

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 1   Plaintiff added another paragraph 1.18) of Plaintiff's Second Amended Complaint, these

 2   answering Defendants state that the allegation(s) are argumentative. As to the remaining

 3   allegations, Defendants are without sufficient information to admit or deny the allegations, and

 4   therefore, deny the same.

 5          1.19    In answer to the allegations in paragraph 1.19 of Plaintiff's Second Amended

 6   Complaint, these answering Defendants state that the allegation(s) are argumentative. As to the

 7   remaining allegations, Defendants are without sufficient information to admit or deny the

 8   allegations, and therefore, deny the same.

 9          1.20    In answer to the allegations in paragraph 1.20 of Plaintiff's Second Amended

10   Complaint, these answering Defendants state that the allegations are argumentative. Defendants

11   further answer that they are without sufficient information to admit or deny the allegations, and

12   therefore, deny the same.

13          1.21    In answer to the allegations in paragraph 1.21 of Plaintiff's Second Amended

14   Complaint, these answering Defendants state that the allegations are argumentative. Defendants

15   further answer that they are without sufficient information to admit or deny the allegations, and

16   therefore, deny the same.

17          1.22    In answer to the allegations in paragraph 1.22 of Plaintiff's Second Amended

18   Complaint, these answering Defendants state that the allegations are argumentative. Defendants

19   further answer that they are without sufficient information to admit or deny the allegations, and

20   therefore, deny the same.

21          1.23    In answer to the allegations in paragraph 1.23 of Plaintiff's Second Amended

22   Complaint, these answering Defendants state that the allegations are argumentative. Defendants

23   further answer that they are without sufficient information to admit or deny the allegations, and

24   therefore, deny the same.

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 1          1.24    In answer to the allegations in paragraph 1.24 of Plaintiff's Second Amended

 2   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 3   the allegations call for a legal conclusion. Defendants further answer that they are without

 4   sufficient information to admit or deny the allegations, and therefore, deny the same.

 5          1.25    In answer to the allegations in paragraph 1.25 of Plaintiff's Second Amended

 6   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 7   the allegations call for a legal conclusion. Defendants further answer that they are without

 8   sufficient information to admit or deny the allegations, and therefore, deny the same.

 9          1.26    In answer to the allegations in paragraph 1.26 of Plaintiff's Second Amended

10   Complaint, Defendants state that the allegations are argumentative and object to the extent that

11   the allegations call for a legal conclusion. Defendants further answer that they are without

12   sufficient information to admit or deny the allegations, and therefore, deny the same.

13          1.27    In answer to the allegations in paragraph 1.27 of Plaintiff's Second Amended

14   Complaint, Defendants state that the allegations are argumentative and object to the extent that

15   the allegations call for a legal conclusion. Defendants further answer that they are without

16   sufficient information to admit or deny the allegations, and therefore, deny the same.

17          1.28    In answer to the allegations in paragraph 1.28 of Plaintiff's Second Amended

18   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

19   that they are without sufficient information to admit or deny the allegations, and therefore, deny

20   the same.

21          1.29    In answer to the allegations in paragraph 1.29 of Plaintiff's Second Amended

22   Complaint, Defendants state that the allegations are argumentative and object to the extent that

23   the allegations call for a medical opinion and/or legal conclusion. Defendants further answer that

24   they are without sufficient information to admit or deny the allegations, and therefore, deny the

     PIERCE COUNTY DEFENDANTS' ANSWER TO PLAINTIFF'S SECOND AMENDED   Pierce County Prosecuting Attorney/Civil Division
     COMPLAINT - 6                                                    955 Tacoma Avenue South, Suite 301
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 1   same.

 2           1.30   In answer to the allegations in paragraph 1.30 of Plaintiff's Second Amended

 3   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 4   the allegations call for a legal conclusion. Defendants deny the same.

 5           1.31   In answer to the allegations in paragraph 1.31 of Plaintiff's Second Amended

 6   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

 7   that they are without sufficient information to admit or deny the allegations, and therefore, deny

 8   the same.

 9           1.32   In answer to the allegations in paragraph 1.32 of Plaintiff's Second Amended

10   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

11   that they are without sufficient information to admit or deny the allegations, and therefore, deny

12   the same.

13           1.33   In answer to the allegations in paragraph 1.33 of Plaintiff's Second Amended

14   Complaint, Defendants state that they are without sufficient information to admit or deny the

15   allegations, and therefore, deny the same.

16           1.34   In answer to the allegations in paragraph 1.34 of Plaintiff's Second Amended

17   Complaint, Defendants state that they are without sufficient information to admit or deny the

18   allegations, and therefore, deny the same.

19           1.35   In answer to the allegations in paragraph 1.35 of Plaintiff's Second Amended

20   Complaint, Defendants state that they are without sufficient information to admit or deny the

21   allegations, and therefore, deny the same.

22           1.36   In answer to the allegations in paragraph 1.36 of Plaintiff's Second Amended

23   Complaint, Defendants state that the allegations are argumentative and are hearsay. Defendants

24   further answer that they are without sufficient information to admit or deny the allegations, and

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 1   therefore, deny the same.

 2           1.37   In answer to the allegations in paragraph 1.37 of Plaintiff's Second Amended

 3   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 4   the allegations call for a medical opinion and/or legal conclusion. Defendants further answer that

 5   they are without sufficient information to admit or deny the allegations, and therefore, deny the

 6   same.

 7           1.38   In answer to the allegations in paragraph 1.38 of Plaintiff's Second Amended

 8   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 9   the allegations call for a medical opinion and/or legal conclusion. Defendants further answer that

10   they are without sufficient information to admit or deny the allegations, and therefore, deny the

11   same.

12           1.39   In answer to the allegations in paragraph 1.39 of Plaintiff's Second Amended

13   Complaint, Defendants state that the allegations are argumentative and object to the extent that

14   the allegations call for a medical opinion and/or legal conclusion. Defendants further answer that

15   they are without sufficient information to admit or deny the allegations, and therefore, deny the

16   same.

17           1.40   In answer to the allegations in paragraph 1.40 of Plaintiff's Second Amended

18   Complaint, Defendants state that the allegations are argumentative and object to the extent that

19   the allegations call for a medical opinion and/or legal conclusion. Defendants further answer that

20   they are without sufficient information to admit or deny the allegations, and therefore, deny the

21   same.

22           1.41   In answer to the allegations in paragraph 1.41 of Plaintiff's Second Amended

23   Complaint, Defendants state that the allegations are argumentative and object to the extent that

24   the allegations call for a legal conclusion. Defendants further answer that they are without

     PIERCE COUNTY DEFENDANTS' ANSWER TO PLAINTIFF'S SECOND AMENDED   Pierce County Prosecuting Attorney/Civil Division
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 1   sufficient information to admit or deny the allegations, and therefore, deny the same.

 2           1.42   In answer to the allegations in paragraph 1.42 of Plaintiff's Second Amended

 3   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 4   the allegations call for a medical opinion and/or legal conclusion. Defendants further answer that

 5   they are without sufficient information to admit or deny the allegations, and therefore, deny the

 6   same.

 7           1.43   In answer to the allegations in paragraph 1.43 of Plaintiff's Second Amended

 8   Complaint, Defendants state that the allegations are argumentative. Defendants deny the same.

 9           1.44   In answer to the allegations in paragraph 1.44 of Plaintiff's Second Amended

10   Complaint, Defendants state that the allegations are argumentative and object to the extent that

11   the allegations call for a legal conclusion. Defendants further answer that they are without

12   sufficient information to admit or deny the allegations, and therefore, deny the same.

13           1.45   In answer to the allegations in paragraph 1.45 of Plaintiff's Second Amended

14   Complaint, Defendants state that they are without sufficient information to admit or deny the

15   allegations, and therefore, deny the same.

16           1.46   In answer to the allegations in paragraph 1.46 of Plaintiff's Second Amended

17   Complaint, Defendants state that the allegations are argumentative and object to the extent that

18   the allegations call for a legal conclusion. Defendants further answer that they are without

19   sufficient information to admit or deny the allegations, and therefore, deny the same.

20           1.47   In answer to the allegations in paragraph 1.47 of Plaintiff's Second Amended

21   Complaint, Defendants state that the allegations are argumentative and object to the extent that

22   the allegations call for a legal conclusion. Defendants further answer that they are without

23   sufficient information to admit or deny the allegations, and therefore, deny the same.

24           1.48   In answer to the allegations in paragraph 1.48 of Plaintiff's Second Amended

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 1   Complaint, Defendants state that they are without sufficient information to admit or deny the

 2   allegations, and therefore, deny the same.

 3          1.49    In answer to the allegations in paragraph 1.49 of Plaintiff's Second Amended

 4   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 5   the allegations call for a legal conclusion. Defendants further answer that they are without

 6   sufficient information to admit or deny the allegations, and therefore, deny the same.

 7          1.50    In answer to the allegations in paragraph 1.50 of Plaintiff's Second Amended

 8   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 9   the allegations call for a legal conclusion. Defendants further answer that they are without

10   sufficient information to admit or deny the allegations, and therefore, deny the same.

11          1.51    In answer to the allegations in paragraph 1.51 of Plaintiff's Second Amended

12   Complaint, Defendants state that the allegations are argumentative and object to the extent that

13   the allegations call for a legal conclusion. Defendants further answer that they are without

14   sufficient information to admit or deny the allegations, and therefore, deny the same.

15          1.52    In answer to the allegations in paragraph 1.52 of Plaintiff's Second Amended

16   Complaint, Defendants object to the extent that the allegations call for a legal conclusion.

17   Defendants further answer that they are without sufficient information to admit or deny the

18   allegations, and therefore, deny the same.

19          1.53    In answer to the allegations in paragraph 1.53 of Plaintiff's Second Amended

20   Complaint, Defendants state that the allegations are argumentative and object to the extent that

21   the allegations call for a legal conclusion. Defendants further answer that they are without

22   sufficient information to admit or deny the allegations, and therefore, deny the same.

23          1.54    In answer to the allegations in paragraph 1.54 of Plaintiff's Second Amended

24   Complaint, Defendants state that they are without sufficient information to admit or deny the

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 1   allegations, and therefore, deny the same.

 2          1.55    In answer to the allegations in paragraph 1.55 of Plaintiff's Second Amended

 3   Complaint, Defendants state that they are without sufficient information to admit or deny the

 4   allegations, and therefore, deny the same.

 5          1.56    In answer to the allegations in paragraph 1.56 of Plaintiff's Second Amended

 6   Complaint, Defendants that they are without sufficient information to admit or deny the

 7   allegations, and therefore, deny the same.

 8          1.57    In answer to the allegations in paragraph 1.57 of Plaintiff's Second Amended

 9   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

10   that they are without sufficient information to admit or deny the allegations, and therefore, deny

11   the same.

12          1.58    In answer to the allegations in paragraph 1.58 of Plaintiff's Second Amended

13   Complaint, Defendants that they are without sufficient information to admit or deny the

14   allegations, and therefore, deny the same.

15          1.59    In answer to the allegations in paragraph 1.59 of Plaintiff's Second Amended

16   Complaint, Defendants state that they are without sufficient information to admit or deny the

17   allegations, and therefore, deny the same.

18          1.60    In answer to the allegations in paragraph 1.60 of Plaintiff's Second Amended

19   Complaint, Defendants state that the grievance is argumentative and speaks for itself. As to any

20   remaining allegations, Defendants further answer that they are without sufficient information to

21   admit or deny the allegations, and therefore, deny the same.

22          1.61    In answer to the allegations in paragraph 1.61 of Plaintiff's Second Amended

23   Complaint, Defendants state that they are without sufficient information to admit or deny the

24   allegations, and therefore, deny the same.

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     COMPLAINT - 11                                                   955 Tacoma Avenue South, Suite 301
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 1          1.62    In answer to the allegations in paragraph 1.62 of Plaintiff's Second Amended

 2   Complaint, Defendants admit that the toilets were not clogged. As to any remaining allegations,

 3   Defendants further answer that they are without sufficient information to admit or deny the

 4   allegations, and therefore, deny the same.

 5          1.63    In answer to the allegations in paragraph 1.63 of Plaintiff's Second Amended

 6   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 7   the allegations call for a medical and/or legal conclusion. Defendants further answer that they are

 8   without sufficient information to admit or deny the allegations, and therefore, deny the same.

 9          1.64    In answer to the allegations in paragraph 1.64 of Plaintiff's Second Amended

10   Complaint, Defendants state that they are without sufficient information to admit or deny the

11   allegations, and therefore, deny the same.

12          1.65    In answer to the allegations in paragraph 1.65 of Plaintiff's Second Amended

13   Complaint, Defendants state that the allegations contain hearsay, are argumentative and

14   Defendants object to the extent that the allegations call for a legal conclusion. Defendants further

15   answer that they are without sufficient information to admit or deny the allegations, and

16   therefore, deny the same.

17          1.66    In answer to the allegations in paragraph 1.66 of Plaintiff's Second Amended

18   Complaint, Defendants state that the allegations contain hearsay, are argumentative and

19   Defendants object to the extent that the allegations call for a legal conclusion. Defendants further

20   answer that they are without sufficient information to admit or deny the allegations, and

21   therefore, deny the same.

22          1.67    In answer to the allegations in paragraph 1.67 of Plaintiff's Second Amended

23   Complaint, Defendants state that the grievance response speaks for itself. As to any remaining

24   allegations, Defendants further answer that they are without sufficient information to admit or

     PIERCE COUNTY DEFENDANTS' ANSWER TO PLAINTIFF'S SECOND AMENDED   Pierce County Prosecuting Attorney/Civil Division
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 1   deny the allegations, and therefore, deny the same.

 2          1.68    In answer to the allegations in paragraph 1.68 of Plaintiff's Second Amended

 3   Complaint, Defendants state that the allegations are argumentative and object to the extent that

 4   the allegations call for a legal conclusion. Defendants further answer that they are without

 5   sufficient information to admit or deny the allegations, and therefore, deny the same.

 6          1.69    In answer to the allegations in paragraph 1.69 of Plaintiff's Second Amended

 7   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

 8   that they are without sufficient information to admit or deny the allegations, and therefore, deny

 9   the same.

10          1.70    In answer to the allegations in paragraph 1.70 of Plaintiff's Second Amended

11   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

12   that they are without sufficient information to admit or deny the allegations, and therefore, deny

13   the same.

14          1.71    In answer to the allegations in paragraph 1.71 of Plaintiff's Second Amended

15   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

16   that they are without sufficient information to admit or deny the allegations, and therefore, deny

17   the same.

18          1.72    In answer to the allegations in paragraph 1.72 of Plaintiff's Second Amended

19   Complaint, Defendants state that they are without sufficient information to admit or deny the

20   allegations, and therefore, deny the same.

21          1.73    In answer to the allegations in paragraph 1.73 of Plaintiff's Second Amended

22   Complaint, Defendants state that they are without sufficient information to admit or deny the

23   allegations, and therefore, deny the same.

24          1.74    In answer to the allegations in paragraph 1.74 of Plaintiff's Second Amended

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 1   Complaint, Defendants state that they are without sufficient information to admit or deny the

 2   allegations, and therefore, deny the same.

 3          1.75    In answer to the allegations in paragraph 1.75 of Plaintiff's Second Amended

 4   Complaint, Defendants state that they are without sufficient information to admit or deny the

 5   allegations, and therefore, deny the same.

 6          1.76    In answer to the allegations in paragraph 1.76 of Plaintiff's Second Amended

 7   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

 8   that they are without sufficient information to admit or deny the allegations, and therefore, deny

 9   the same.

10          1.77    In answer to the allegations in paragraph 1.77 of Plaintiff's Second Amended

11   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

12   that they are without sufficient information to admit or deny the allegations, and therefore, deny

13   the same.

14          1.78    In answer to the allegations in paragraph 1.78 of Plaintiff's Second Amended

15   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

16   that they are without sufficient information to admit or deny the allegations, and therefore, deny

17   the same.

18          1.79    In answer to the allegations in paragraph 1.79 of Plaintiff's Second Amended

19   Complaint, Defendants admit that a Complaint was filed on January 25, 2021. Defendants

20   further answer that they are without sufficient information to admit or deny the allegations, and

21   therefore, deny the same.

22          1.80    In answer to the allegations in paragraph 1.80 of Plaintiff's Second Amended

23   Complaint, Defendants state that they are without sufficient information to admit or deny the

24   allegations, and therefore, deny the same.

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 1          1.81    In answer to the allegations in paragraph 1.81 of Plaintiff's Second Amended

 2   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

 3   that they are without sufficient information to admit or deny the allegations, and therefore, deny

 4   the same.

 5          1.82    In answer to the allegations in paragraph 1.82 of Plaintiff's Second Amended

 6   Complaint, Defendants object as to relevance. Defendants further answer that they are without

 7   sufficient information to admit or deny the allegations, and therefore, deny the same.

 8          1.83    In answer to the allegations in paragraph 1.83 of Plaintiff's Second Amended

 9   Complaint, Defendants state they are without sufficient information to admit or deny the

10   allegations, and therefore, deny the same.

11          1.84    In answer to the allegations in paragraph 1.84 of Plaintiff's Second Amended

12   Complaint, Defendants state they are without sufficient information to admit or deny the

13   allegations, and therefore, deny the same.

14          1.85    In answer to the allegations in paragraph 1.85 of Plaintiff's Second Amended

15   Complaint, Defendants state that they are without sufficient information to admit or deny the

16   allegations, and therefore, deny the same.

17          1.86    In answer to the allegations in paragraph 1.86 of Plaintiff's Second Amended

18   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

19   that they are without sufficient information to admit or deny the allegations, and therefore, deny

20   the same.

21          1.87    In answer to the allegations in paragraph 1.87 of Plaintiff's Second Amended

22   Complaint, Defendants state that they are without sufficient information to admit or deny the

23   allegations, and therefore, deny the same.

24          1.88    In answer to the allegations in paragraph 1.88 of Plaintiff's Second Amended

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 1   Complaint, Defendants state that they are without sufficient information to admit or deny the

 2   allegations, and therefore, deny the same.

 3          1.89    In answer to the allegations in paragraph 1.89 of Plaintiff's Second Amended

 4   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

 5   that they are without sufficient information to admit or deny the allegations, and therefore, deny

 6   the same.

 7          1.90    In answer to the allegations in paragraph 1.90 of Plaintiff's Second Amended

 8   Complaint, Defendants state that they are without sufficient information to admit or deny the

 9   allegations, and therefore, deny the same.

10          1.91    In answer to the allegations in paragraph 1.91 of Plaintiff's Second Amended

11   Complaint, Defendants state that the kites speak for themselves. As to any remaining

12   allegations, Defendants further answer that they are without sufficient information to admit or

13   deny the allegations, and therefore, deny the same.

14          1.92    In answer to the allegations in paragraph 1.92 of Plaintiff's Second Amended

15   Complaint, Defendants state that they are without sufficient information to admit or deny the

16   allegations, and therefore, deny the same.

17          1.93    In answer to the allegations in paragraph 1.93 of Plaintiff's Second Amended

18   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

19   that they are without sufficient information to admit or deny the allegations, and therefore, deny

20   the same.

21          1.94    In answer to the allegations in paragraph 1.94 of Plaintiff's Second Amended

22   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

23   that they are without sufficient information to admit or deny the allegations, and therefore, deny

24   the same.

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 1          1.95    In answer to the allegations in paragraph 1.95 of Plaintiff's Second Amended

 2   Complaint, Defendants state that they are without sufficient information to admit or deny the

 3   allegations, and therefore, deny the same.

 4          1.96    In answer to the allegations in paragraph 1.96 of Plaintiff's Second Amended

 5   Complaint, Defendants state that they are without sufficient information to admit or deny the

 6   allegations, and therefore, deny the same.

 7          1.97    In answer to the allegations in paragraph 1.97 of Plaintiff's Second Amended

 8   Complaint, Defendants state that they are without sufficient information to admit or deny the

 9   allegations, and therefore, deny the same.

10          1.98    In answer to the allegations in paragraph 1.98 of Plaintiff's Second Amended

11   Complaint, Defendants state that they are without sufficient information to admit or deny the

12   allegations, and therefore, deny the same.

13          1.99    In answer to the allegations in paragraph 1.99 of Plaintiff's Second Amended

14   Complaint, Defendants state that they are without sufficient information to admit or deny the

15   allegations, and therefore, deny the same.

16          1.100 In answer to the allegations in paragraph 1.100 of Plaintiff's Second Amended

17   Complaint, Defendants state that they are without sufficient information to admit or deny the

18   allegations, and therefore, deny the same.

19          1.101 In answer to the allegations in paragraph 1.101 of Plaintiff's Second Amended

20   Complaint, Defendants state that they are without sufficient information to admit or deny the

21   allegations, and therefore, deny the same.

22          1.102 In answer to the allegations in paragraph 1.102 of Plaintiff's Second Amended

23   Complaint, Defendants object as to relevance and state that the allegation contains hearsay.

24   Defendants further answer that they are without sufficient information to admit or deny the

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 1   allegations, and therefore, deny the same.

 2           1.103 In answer to the allegations in paragraph 1.103 of Plaintiff's Second Amended

 3   Complaint, Defendants state that they are without sufficient information to admit or deny the

 4   allegations, and therefore, deny the same.

 5           1.104 In answer to the allegations in paragraph 1.104 of Plaintiff's Second Amended

 6   Complaint, Defendants object as to relevance and state that the allegation contains hearsay.

 7   Defendants further answer that they are without sufficient information to admit or deny the

 8   allegations, and therefore, deny the same.

 9           1.105 In answer to the allegations in paragraph 1.105 of Plaintiff's Second Amended

10   Complaint, Defendants state that the allegation contains hearsay. Defendants further answer that

11   they are without sufficient information to admit or deny the allegations, and therefore, deny the

12   same.

13           1.106 In answer to the allegations in paragraph 1.106 of Plaintiff's Second Amended

14   Complaint, Defendants state that the allegations are argumentative. Defendants deny the same.

15           1.107 In answer to the allegations in paragraph 1.107 of Plaintiff's Second Amended

16   Complaint, Defendants state that they are without sufficient information to admit or deny the

17   allegations, and therefore, deny the same.

18           1.108 In answer to the allegations in paragraph 1.108 of Plaintiff's Second Amended

19   Complaint, Defendants state that they are without sufficient information to admit or deny the

20   allegations, and therefore, deny the same.

21           1.109 In answer to the allegations in paragraph 1.109 of Plaintiff's Second Amended

22   Complaint, Defendants state that the allegations are argumentative. Defendants further answer

23   that they are without sufficient information to admit or deny the allegations, and therefore, deny

24   the same.

     PIERCE COUNTY DEFENDANTS' ANSWER TO PLAINTIFF'S SECOND AMENDED   Pierce County Prosecuting Attorney/Civil Division
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 1          Injury No paragraph number is provided. In answer to this paragraph, Defendants deny

 2   the same.

 3          1.110-1.114     In answer to the allegations in paragraph 1.110 – 1.114 of Plaintiff's

 4   Second Amended Complaint, these answering Defendants deny the same.

 5          1.115 -1.122 Ed Troyer and Patti Jackson have been dismissed as defendants from this

 6   lawsuit and no answer is required to paragraphs 1.115-1.122. To the extent that any answers is

 7   required, Defendants deny the same.

 8          1.123 In answer to the allegations in paragraph 1.123 of Plaintiff's Second Amended

 9   Complaint, these answering Defendants deny the same.

10          1.124-1.125     In answer to the allegations in paragraph 1.124-1.125 of Plaintiff's Second

11   Amended Complaint, these answering Defendants deny the same.

12          1.126-1.134     Defendants incorporate all answers to prior paragraphs and as to any

13   remaining allegations, these answering Defendants deny the same.

14          In answer to the Prayer for Relief stated in Plaintiff's Second Amended Complaint, these

15   answering Defendants deny that Plaintiff is entitled to any of the relief requested.

16                         II.    AFFIRMATIVE AND OTHER DEFENSES

17          FURTHER, AND BY WAY OF AFFIRMATIVE AND OTHER DEFENSES, AND

18   ALL OTHER MATTERS OF AVOIDANCE, DEFENDANTS ALLEGE AS FOLLOWS:

19          1.      FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES

20          2.      NO NOTICE OF DEFECT

21          3.      NO CLAIM FILING AS REQUIRED BY RCW 4.96.020

22          4.      NO VIOLATION(S) OF CONSTITUTIONAL RIGHTS BY PERSONAL
                    ACTIONS OF INDIVIDUAL DEFENDANTS
23
            5.      QUALIFIED IMMUNITY: Defendants are entitled to qualified immunity as to
24                  both state and federal claims.

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 1
               6.    REASONABLE CARE: Defendants’ actions were reasonable and they did not act
 2                   with deliberate indifference.

 3             7.    DISCRETIONARY IMMUNITY: Defendant(s) state that all actions of
                     Defendants alleged as negligence, manifests a reasonable exercise of judgment
 4                   and discretion by authorized public officials made in the exercise of governmental
                     authority entrusted to them and are neither tortious nor actionable.
 5
               8.    GOOD FAITH: Defendants at all times acted in good faith in the performance of
 6                   their duties and is therefore immune from suit for the matters charged in
                     Plaintiff’s Second Amended Complaint.
 7
               9.    NEGLIGENCE/INTENTIONAL ACT OF THIRD PARTY OR PARTIES:
 8                   Defendants state that any alleged damages and/or injuries, if any, claimed by the
                     Plaintiff were proximately caused or contributed to by the negligence and/or
 9                   intentional conduct of another/others, including but not limited to other inmates,
                     and not from any act or omission by Defendants.
10
               10.   COMPARATIVE FAULT: Plaintiff’s alleged injuries and damages, if any, were
11                   proximately caused or contributed to by the fault of Plaintiff.

12             11.   INTERVENING/SUPERSEDING CAUSE: Defendants state that Plaintiff’s
                     claims were caused or made worse by an intervening, supervening and/or
13                   superseding event or events.

14             12.   FAILURE TO MITIGATE: Defendant states that if Plaintiff suffered any injury
                     or damages, recovery is barred or mitigated by Plaintiff’s failure to mitigate
15                   damages.

16                                     III.   PRAYER FOR RELIEF

17             WHEREFORE, having fully answered Plaintiff's said Complaint, Defendants pray the

18   Court for the following relief:

19             1.    That Plaintiff's Second Amended Complaint be dismissed with prejudice;

20             2.    That Defendants be awarded their costs and reasonable attorney fees incurred

21   herein;

22             3.    That Defendants be allowed to reserve the right to amend this Answer to assert

23   such cross-claims, counterclaims, and/or third party claims as during the course of discovery

24   herein becomes proper;

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 1          4.      For such other and further relief as may appear just and equitable in the premises.

 2          DATED this 13th day of May, 2022.

 3                                                    MARY E. ROBNETT
                                                      Prosecuting Attorney
 4
                                                      s/ FRANK CORNELIUS
 5                                                    FRANK CORNELIUS, WSBA #29590
                                                      Deputy Prosecuting Attorney / Civil
 6                                                    955 Tacoma Avenue South, Suite 301
                                                      Tacoma, WA 98402-2160
 7                                                    Ph: 253-798-6514 / Fax: 253-798-6713
                                                      frank.cornelius@piercecountywa.gov
 8
                                     CERTIFICATE OF SERVICE
 9
             On May 13, 2022, I hereby certify that I electronically filed the foregoing PIERCE
10   COUNTY DEFENDANTS' ANSWER TO PLAINTIFF'S SECOND AMENDED COMPLAINT
     with the Clerk of the Court using the CM/ECF system which will send notification of such filing
11   to the following:

12          Justin Allen Davey
            echotawolfclan@gmail.com
13

14
                                                          s/ NADINE BRITTAIN
15                                                        NADINE BRITTAIN
                                                          Legal Assistant
16                                                        Pierce County Prosecutor's Office
                                                          Civil Division, Suite 301
17                                                        955 Tacoma Avenue South
                                                          Tacoma, WA 98402-2160
18                                                        Ph: 253-798-6081 / Fax: 253-798-6713

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